Case 4:16--cr-00257 Documcsent 61 Fi|eo| in TXS[_) on 1`;1{§;1§1;%2 EYa `é 1 `ef- 1

 

 

MAGISTRATE JUDGE FRANCES H TACY m 1133 151 §§§1 § "‘ 1"'.1- '1. 1…~:

CASE MANAGBR BEVERLY WHITE " TAPE ERO 7

USPS /USPO [gg.>; lNTERPRETER f , mg gm WW

TIME 33 {5 l [65 ZLA..M l P.M. DATE ll l`/ (7
begin negm end

 

 

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add'l defts on reverse side new atty info on reverse Appt - A, Retd - R, PPD - F

 

ARRAIGNMENT
|l§,/.Arraignment held. |:] Arraignment held on superseding indictment |:| Arraignment not held.
..Deft § first appearance with counsel |:l Deft ' appeared without counsel
§/5§ Waiver of Indictment executed (for criminal information).
enters a plea of not guilty. |:| Deft enters a plea of guilty.
l:]HD plea of guilty probable; pro forma plea of not guilty entered_. __
\:]..D ___rearraignment set at before Judge

lZ//Waiver of Speedy Trial exec ted. l a
Sceheduling Order E issued W/cc to parties |:| to be mailed. - [:| not issued

Order for PSI setting Disclosure and Sentencing dates signed. |:] PSI waived.

 

sentencing set at

 

§§

\:l...D failed to appear, bench Warrant to issue.

§ v bond |:| set |:|reduced to $ ‘ ECash [:] Surety |:l 10% l:l PR.
bond continued

I:\...D remanded to custody.

|:]. .Deft Nebbia Hearing held (conf|ict of interest).
OTHER PROCBEDINGS:

 

 

 

 

 

 

 

 

Copy to: Case Manager for USDJ
USPO (if PSI crdered) see reverse

